 Al'ter Recording Return To:
 UNITED SHORE FINANCIA1
 SERVICES, LLC
 585 SOUTH BOULEVARD E
 PONTIAC.MI 48341

 ATTN:POST CLOSING MANAGER
                               ipace Ahnvf This Line For Recording B:«a|
                                   DEED OF TRUST
             Trust Indenture Under the Small Tract Financing Act ofMontana

                                                               WILLIAMS
                                                               Loanff:1219454022
                                                               Sen'.S: 0115095648
                                                               MIK.100032412194540222
                                                               MERS Phone: l-888-679-6377
                                                               PIN:0016506
DEFINITIONS

Words used in multiple seclions ofthis document are defined below and other words are defined in Sections
3,11.]3,18,20 and 21. Certain i-ulcs rcgarding [he usagc ofwords used in this document are also provided
in Section 36.
     "Sccurity Instrument"
(A)                          means [his documenl, which is dated DECEMBER 26 , 2019, together with all
 Riders EO this document.
    "Borrower" is CANDY WILLIAMS.
(B)                                        Borrower is the Irustor under ihis Security Instrumeni.
     "Lender" is ONITED WHOLESAI.E
(C)                                         MORTGAGE. Lender is a LLC organized and cxisling under ihe
laws ofMI. Lcnder's address is 585 SOUTH BOULEVARD E, PONTIAC, MI 48341. Lender is the
benericiary under ihis Securiiy Instrument.
     "Trustee" islnsured Titles
(D)
     "MERS" is the Mortgage Eleclronic RegistraLion
(E)                                                       Sysleins, Inc. Lcnder has appoinlcd MERS as thc
nominee for Lendcr for this Loan, and attachcd a MERS Rider to this Sccurity Jnstrumcnt, to be executed by
Borrower, which further describes the relationship betwecn Lender and MERS, and which is incorporaied
mto anij amends and supplemenis this Security Instrument.
    "Note" means !he
(F)                     promissoo'- note signed by BOITOWCI and dated DECEMBER 26 , 2019. The Notc
states that Bonower owes Lender TWO HUNDRED THOUSAND AND 00/100 Dollars (U.S.
$200,000.00) plus interest. Bon-ower has promised to pay this debl in regular Periodic Payments and '.o
pay the debt in full not later than JANOARY 1 , 2050. This Security Instrument secuies 150% of thc
amount of [he Note.
(G) "Property" means the propeny that is described below under the heading "Transt'er of'Rights in the

MONTANA - Singlc Family - Fannie Mae/Fr •ddie Mac UNIFORM INSTRUME\T
SS 3.'!5.50                                                                        F»rm3U27 1/01 (rtr. 12/03)



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                                                                                                                    EXHIBIT
                                                                                                                    20
9:23-ap-09001-BPH Doc#: 35-15 Filed: 11/15/23 Page 1 of 15                                                         50
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 Property."
       "Loan" means the debt evidenced
 (H)                                       by the Noie, plus interest, any prepayment charges and late charges
 due under the Note, and all sums due under this Security Tnstrumcnt, ptus interest.
     "Riders" means all Ridcrs to this Security Instrumenl thai arc cxecuted by Borrower. The following
 (I)
 Riders are to be executed by Borrower [check box as applicablc]:
Ci Adjuslable Riite Rider          DCondominium Rider                            Xl Second Home Rider
D Balloon Ridcr                    0 Planned Unit Development Ridcr              3 Biweekly Payment Rider
Dl-4FamilyRider                    8] Other(s) [specify] MERS RIDER
 (J) Appiicable Law" means all controliing applicable Federa!, state and iocat statutes, rcguEaiions.
 ordinance^ and administt'ative ruies and orders (thal have the effect oflaw) as wel! as all appiicable final, nun
 -appealablcjudicial opinions.
      "Community Association Dues, Fees, and Assessments" mcans all dues, fces, asscssmcnts and olher
(K)
charges that are imposed on Borrower or the Property by a contlominium association, homeowncrs
association or similar organization.
      "Electronic Funds Transt'er" means any transfer of'hinds, other fhan a transaction originated by check,
(L)
draft, or similar paper instrument, which is initialed through an electronic tei-niinal, telephonic instrumenl,
compuier, or magnelic tape so as to order, insti-uct, or authorize a financial instilution to debit or credit an
accounL Such term inciudes, but is not Jimited to, point-of-sale transfefs, automated teiler machine
transaciions, rransfers initiaced by telephone, wire transfcrs, and automated clearinghouse transfers.
       "Escrow Items" meaiis those iteins that are described in
(M)                                                              Seciion 3.
      "Miscellaneous Proceeds" means
(N)                                       any coinpcnsation, settlement, award ofdamages, or proceeds paid by
any third party (ofher ihan insurance procceds paid under the coverages dcscribed in Seciion 5) for: (i)
daniage lo, or destruction of, the Property; (ii) condcmnation or other lakingofall or any partof'the Property,
(iii) conveyance in lieu ofcondemnaiion; or (iv) misreprcscntations of, or omissions as 10. the value and/or
condition ofthc Properiy.
      "Mortgage Insurance" means insurance
(0)                                                protccling Lendcr against the nonpayment of, or defaull on,
thc Loan.
     "Periodic Payment" means the regularly scheduled amount due for
(P)                                                                           (i) principal and interest undcr ihe
Noie, plus (ii) any amounts under Section 3 oflhis Security Instrumenl.
       "RESPA" means the Real Estate
(Q)                                          Settlement Procedures Act (12 U.S.C. §2601 el seq.) and its
implementing regulation, Regulaiion X (12 C.F.R. Part 1024),as they might be amended from time to time,
or any additional or successor legislation or regulation that governs the samc subject matter. As used in this
Security Instrumeni, "RESPA" refers to all requirements and resirictions ihat are imposed in regard to a
"federally related
                   mortgage loan" even if'the Loan does not qualify as a "federally rclated inortgage loan"
under RESPA.
      "Successor in Interest of Borrower" means any
(R)                                                        parly that has taken tiile to the Propcrl.y, whether or
nut thal party has assumed Borrower's obligations under the Note and/or this Security [nslrunicnt.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment ot'the Loan, and al! renewais, extensions and
modiflcacions of the Note; and (ii) the performance of Bon'ower's covenants and agreements under this
Security Insii-ument and the Note. For this purpose, Bon'owcr in'evocably grants and conveys lo Trustee. in

MONTANA - Singli: Family - Fannle Mar/Frtddic Mac UNIFORM INSTRUMENT
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 under the Note; (b) principal due under the Note; (c) amounis ctue under Section 3. Such paymcnts shall be
 applied to each Periodic Payment in the order in which ic becaine due. Any remaining amounts shall be
 applied first to late charges, second lo any oiher amounts due under this Sccurity Insirument, and then to
 reduce the principal balance ofthe Note.
            IfLender receivcs a payment from Borrower for a delinquent Periodic Payment which includcs a
 sufficient amount to pay any late charge due, the payment may be applied to the delinquenl payment and thc
 latc charge. Ifmore than one Pcriodic PaymctU is outslanding, Lendcr may apply any payment receivcd from
 Borrower to the repayment ofthe Periodic Payments if, and to ihe extent ihat, each payment can be paid in
 f'ull. To tlie extent that any excess exists after the payment is applied to the full payment ofone or more
 Periodic Payments, such excess may be applied to any late chaj-ges due. Voluntary prepayments shall be
appiied first to any prepaymcnt charges and then as described in ihc Note.
           Any application ofpaymeuts, insurance proceeds, or Miscellaneous Proceeds to principal due undei
the Note shalf not extend or postpone the due date, or change the amount, of the Periodic Payments.
           3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Paymenls are due
under ihe Note, until ihe Note is paid in full, a sum (ihe "Funds") 10 provide fbr paymeni ofamounis due t'or:
(a) taxes and assessments and other items which can attain priority over this Security Insti-ument as a lien or
encumbraiicc on the Property. (b) leasehold payments or ground rents on the Property. ifany: (c) premiums
for any and al] insurance required by Lender under Section 5; and (d) Mortgage Insurancc piemiums, ifany,
or any sums payable by Borrower to Lender in lieu of Ihe paymenl af Mortgage Insurance premiums in
accordance with the provisions of Scction 10. Thesc items are called "Escrow Items." Al origination oralany
[ime during the term of the Loan, Lender may require that Communiiy Association Ducs, Fees, and
Assessmcnts, ifany, bc cscrowed by Borrower, and such duus, fees and assessments shall be an Escrow Item,
Borrower shall promptly furnish to Lender all noticcs ot'amounts to bc paid under this Section. Borrower
shall pay Lender the Funds fur Escruw Items unless Lender waives Borrowcr's obligation to pay the F'unds
for aiiy or all Escrow Items. Lender may waive Bon'ower's obligation to pay to Lender Funds for any or a!l
Escrow kems at any time. Any such waiver may only be in writing. I,n the event of such waiver, Bon'ower
shall pay directly, when and where payable, the amounts due for any Escrow Items f'or which payment of'
Funds has been waived by Lender and, if'Lender requires. shall turnish to Lender receipts evidencing such
paymeni within such tiine period as Lender may require. Borrowcr's obligaiion to make such paymcnts and
to provide receipts shall for ali purposes be deemed to be a covenant and agreemcnt contained in this
Security Tnstrumcnl, as the phrase "covenant and agreement" is used in Section 9. IfBorrower is obligatcd to
pay Escrow Itcms directly, pursuant to a waiver, and Borrower fails to pay the amount duc for an Escrnw
Item, Lender may exercise its rights under Scction 9 and pay such amounl and Borrower shall then be
obligatcd under Section 9 to repay to Lcndcr any such amount. Lcnder may rcvokc the waiver as to any or ail
Escrow Items at any time by a noticc given in accordance with Section 15 and, upon such revocalion,
Bon'ower shall pay to Lencler al! Funds, and in such amounrs, that arc then requircd under this Section 3.
           Lender may, at any time, collect and holcl Funds in an amount (a) sufficicnt to pcrmit Lender to
apply the Funds at the !imc specificd under RESPA, and (b) 1101 to exceed the maximum amount a lendercan
require under RESPA. Lender shall estimate the aniount of Funds due on the basis of current daia and
reasonable estimates ofexpenditures offuture Escrow llems or otherwise in accordance wilh Applicable
Law,
         The Funds shall be held in an institution whose deposils are insured by a fcderal agency.
instrumcntality, or entity (including Lender, ifLender is an institulion whose deposits are so insurcd) or in
any Federal Home Loan Bank. Lendershall apply [he Funds !0 pay the Escrow Items no later ihan [hc time
spcciFied under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually

MONTANA - Single Family - Fannic Mae/Freddie Mac UNII-'ORM [NSTRUMENT
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 analyzing the escrow account, or verifying the Escrow liems, uniess Lender pays Borrower interest on the
  Funds and Applicable Law permits Lender to make such a charge. Unless an agrcement is made in wnling or
 Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower any
 mterest or carnings on thc Funds. Borrower and Lender can agree in writing, however, thai interest shaii be
 paid on the Funds- Lender shall give to Borrower, without charge, an annua! accounting ofthc Funds as
 required by RESPA.
           Ifthere is a surplus ofFunds held in escrow, as defined under RESPA, Lender shall accounl to
 Borrower for thc excess funds in accordance with RESPA. Ifthcre is a shorlagc ofFunds held in cscrow, as
 defincd under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay 10
 Lender the amount necessary to make up the shortage in accordance with .RESPA, but in no more than 12
 monthly payments. Ifthere is a deficiency ofFunds held in cscrow, as dcfincd under RESPA, Lender shall
 notify BoiTOwer as required by RESPA, and Borrower shall pay to Lender thc amount nccessai-y to make up
 the deficiency in accordance with RESPA, but in no more than 12 monthly payments.
           Upon payment in full ofall suins secured by this Securiry Instniment, Lender shall promplly ret'und
 to Bon'ower any Funds held by Lender.
           4. Charges; Liens. Borrower shal! pay all taxes. assessmenls, charges, fines, and impositions
 attributablc to the Property which can attain priority over this Security Inslrument. leasehold payments 01
ground rents on the Property, ifany, and Community Associaiion Dues, Fees. and Assessments, jfany. To
the extent that these items are Escrow Items, Borrawer shall pay them in the manner provided in Section 3.
           Borrowcr shall promptly discharge any lien which has priority over this Security Instrument unless
Borrower: (a) agrees in wriling to Ihe payment oflhe obligation secured by the licn in a mannci acceptablc 10
 Lender, but only so long as Borrower is performing such agreement; (b) contests ihe lien in good faith by, or
defends againss enforcement ot' thc liea in, lega! proceedings which in Lender's opinion operatc to preven!
 the enforcement of thc licn while thosc procecdings are pending, but only until such proceedings are
 concluded; or (c) secures from the holder ofthe lien an agreement satisfactoi-y 10 Lender subordinating ihe
 lien to this Security Insti-ument. IfLenderdctei-mines that any part ofthe Property is subject to a lien which
can aitain prionty over this Security Instrumenl, Lender may give Borrowef a notice identifying the iien
Wilhin 10 days oflhe datc on which that notice is given, Borrower shall yatisfy the iien or take one or more
ofthe ac[ions set fonh above in this Section 4.
           Lender may require Borrower to pay a one-time charge for a real esiale iax verit'ication and/or
reponing service used by Lender in connection wilh Ihis Loan.
           5. Property Insurance. Borrower shall keep the improvements now existing or hcreaflcr crccted un
the Property insurcd against loss by fire, hazards included within the term "extciided covcragc." <ind any'
olher hazards including, but not limited to, earthquakcs and floods, for which Lender rcquires insurancc. This
insurance shall be maintained in the amounts (including deductible levels) and 1'or the periods that Lendcr
requires. What Lendcr requires pursuant to the preccding sentcnccs can change during the tcirn ofthe Loan.
The insurance can'ier providing (he insurance shall be choscn by Borrower subjcc! to Lcnder's righl to
disapprove Boirower's clioice, which righl shall »otbe exercised unreasoiiably. Lender may require Borrowei
to pay, in connection with this Loan, eilher: (a) a one-time charge for flood zone detemiinalion, certification
and tracking services; or (b) a one-iime charge for flood zone determination and certiricaiion services and
subsequent charges each time remappings or similar changes occur which rea.sonably mlght aft'eci such
determinalion or cenification. Bon'ower shall also be responsiblc for the paymenl ofany fees imposed by the
Fcderal Emergency Management Agcncy in cnnneclion with the revicw ofany flood xone dctermmation
rcsulting from an objeciion by Borrowcr.


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           It' Borrower fails to maintain any of !he coverages described above, Lender may obtain insurance
 coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any
 particular type or amount ofcoverage. Therefoie, such covcrage shalt cover Lender, but might or might not
 protect Borrower. Borrower's cquity in the Propeity. or llic conicnts ofthe Property, agains! any risk, hazard
or liability and might provide greater or lesscr coverage ihan was previously in effect. Borrower
acknowledges that the cosl ofthe insurancc coverage so obtained niight significantly excecd ihe cosi of
 insurancc that Borrower could have obtained. Any amounis disbursed by Lendcr under ihis Seclion 5 shall
 bccome additional dcbt of Borrower secured by ihis Sccurity Instrumcnl. These amounts shall bear inlcrest al
 Ihc Note rate from the daie ofdisbursement and shall be payablc. with such inicrest, upon notice from Lender
to Borrowcr rcquesiing payment.
          All jnsurancc policics rcquired by Lcnder and rcncwals ofsuch policics shai! be subject to Lenders
right to disapprove such policies, shall include a standard mongage clause, and shall name Lender as
mortgagee and/or as an additional loss payee. l.ender shall have the right to hold the policies and renewal
certificaies. IfLender requires. Borrower shall promptly give 10 Lender all rcceipts ofpaid premium.s and
renewal notices. It' Borrower obtains any I'orm ot' insurance coverage, not otherwise required by Leiider, for
damagc lo, or dcstruciion of, the Property, such policy shall include a slandard morlgage clau.se and shall
naine Lender as inoitgagee and/or as an additional loss payce
          In the event ofloss, Bonower shall give prompt notice 10 thc insurance carrier and Lender. Lender
rnay make proofofloss ifnot made promptly by Borrower. Unlcss Lender and Borrower otherwise agree in
writing, any insurance procceds, whether or nol thc underlying insurancc was rcquircd by Lcnder, shall be
applied to restoration or repair of the Property, if thc resioraiion or rcpair is economically fcasiblc and
Lender's secunry is not lesscned. During such repair and rcstoration pcriod, Lender shall have the right to
hold such insurance proceeds until Lcndcr has had an opponunily to inspect such Property to ensure thc work
has been completed to Lender's satisfaclion, provided that such inspection shall be undcrtaken promptly.
Lender may disburse proceeds for the repairs and rcstoration in a single paymcnt or in a series ofprogress
payments as the work is completed. Unless an agreement is made in wiiting or Applicable Law requires
interesl 10 be paid on such insurance proceeds, Lender shall not be required to pay Borrower any interest or
earnings on such proceeds. Fees for public adjusters, or olher ihird parties. retained by Borrower shall not be
paid out ofthe insurance procecds and shal] be ihe sole obligaiion ot'Borrower. Ifthe rcsloration or rcpair is
not economically feasiblc or Lender's sccurity would be lesscned, the insurance procceds shall be applied to
thc sums sccured by this Security Inslrumenl. whethcr 01 not then due. with the cxcess, ifany. paid to
Borrower Such insurance proceeds shail bc appiied in the order provided for in Section 2.
          TfBorrower abandons the Property, Lendcr may fiie, negotiate and setlle any available insurance
claim and related maitcrs. IfBorrower (ioes not respond witliin 30 (iays lo a nolice from Lender ihat the
insurance carrier has offered lo settle a claim, then Lender may negotiale and scllle the claim. The 30-day
period will begin whcn the notice is given. In ciiher event, O!- ifLender acquires the Propcny under Section
22 or othcrwise, BoiTowcr hsreby assigns to Lcndcr (a) Bon'ower's rigbts tu any insurancc proceeds in an
amount not to exceed the amounts unpaid under !he Notc or Ihis Sccurity Insti-ument, and (b) any other ol
Borrower's rights (oiher than the righi !o any refiHiil of uiiearned premiums paitl by Borrower) under all
insurance policies covering the Propeiti', insot'ar as such rights are applicable 10 Ihe coverage ofthe Property.
Lender may use Ihe insurance proceeds eilher 10 repair or resiore the Propcrty or to pay amounis unpaid
undei the Note or chis Securiiy Instrument, whethci or noi Ehen duc
          6. Occupancy. Borrower shali occupy, cytabSish. and usc the Property as Borrower's principal
residcncc wirhin 60 days aftcr thc cxccullon ofthis Sscunty Instrument and shall continue to occupy tiie
Property as Borrower's pnncipal residence for at leasione year after llie dale of'occupancy, unless Lender

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 otherwise agrees in wriling, which conseni shall not be unreasonably withheld, or unlcss extenuaiing
 circumstances exist which are beyond Borrower's control
           7. Preservation, Maintenance and Proteclion of the Property; Inspections. Borrower shall not
 deslroy. damagc or impair Ihe Property, allow ihe Propeny lo deteriorate or commit waste on the Property.
 Whether or no( BoiTower is residing in the Properiy, Borrawer shall maintain the Property in ordcr to prevenl
 the Property from deteriurating or decreasing in value due tu its condilion. Unless it is determincd pursuanl lo
 Section 5 that repair or rcstoration is not economically fcasible, Borrower shall promptly repair the Propcrty
 it damaged to avoid funher deierioration or damage. Ifinsurance or condemnation proceeds are paid in
 connection with damage lo, or the taking of, ihe Property, Bon'ower shall be responsible for repairing or
 restonng the PropeiTy only if Lcnder has released proceeds t'or such purposcs. Lcnder may disburse proceeds
 fbr the repairs and resioration in a singlc paymenl or in a series ofprogress payments as the work is
 completcd. If the insurancc or condemnarion proceeds are not sufficient to repair or restore the Propeny,
 Bon'ower is not rciieved of Borrower's obligation for the completion of such repair or restoration.
           Lcndcr or its agenl may make rea^onablc entries upon and inspections of Ehe Pfoperty. !f it has
 reasonable cause, Lender may inspect the inierior ofthe improvements on ihe Property. Lender shall give
 Borrower notice at the Iime ofor prior lo such an interior inspeciion specifying such reasonable cause.
          8. Borrower's Loan Applicatii>n. Borrower shall be in default if', during the Loan application
 process. Bonowcr or any persons or entilies acting at thc direction of Borrower or with Borrower's
 knowledge or conseni gavc materialiy false, misleading, or inaccurate information or siatements lo Lender
(or failed to providc Lfc:ndcr wiih matcrial information) in conncction with the Loan. Materiat reprcscntalions
includc. but arc not iimited lo, represcntaiions conccrning Borrower's occupancy of the Properiy as
 Borrower's principa' residcnce.
          9. Protection ofLender's Interest in the Property and Rights Under this Security Instrument.
 If(a) Bon'ower fails lo perfomi ihe coveaants and agreements contained in this Seeurity Insti-uincnt, (b) thcrc
is a legal proceeding fhat niight sigilificantly affect Lender's iiiterest in the Property and/or rights uiider this
Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
entbrcenicnt of a lien which may attain priority over this Sccurity Instrument or to enforce laws or
regiilations), or (c) Borrower has abandoned the Pt'operty, then Lender may do and pay t'or whatever is
rcasonable or appropriate to protecl Lendcr's inlcrcst in ihe Property and rights under this Securiiy
Instrumeni, including protecting and/or assessing thc value ofthe Propcrty, and securing and/or repairing Ihc
Propeny. Lender's action.s can include, bui are not ttmited to: (a) paying any sums secured by a lien which
has prioriiy over this Securily Instrument; (b) appearing in caurl. and (c) paying reasonable allorneys' fees lo
protcct ils inleresl in ihc Properly and/or righls undcr this Security Instrument, including its securcd posilion
in a bankruptcy proceeding. Securing the Property includes, bul is noi limitcd to, entering thc Properly to
make rcpairs, change locks, replace or board up doors and windows, drain watcr from pipes, eliminate
building or other code violations or dangerous conditions, and have uiilities turned on or off. Atthough
Lcnder may take action under this Section 9, Lcnder docs not have 10 do so and is not under any duty or
obligation to do so. Ir is agreed thaf Lender incurs no Eiabili^y tbr not taking any or all actions authorized
under this Section 9.
          Any amounts disbursed by Lender under this Section 9 shatE become additional debt of Borrower
secured by this Securiiy Instrumeni. These amounts shall bear inlerest at ihe No>e rate from the dale of
disbursement aiid shall be payable. with such interest, upon notice from Lendcr to Borrowcr requesting
paymeni.
          Iflhis Securiiy Instrunient is on a ieaschold, Borrowcr shalt comply wilh all the provisions of thc
lcase. Borrowcr sha'i nol surrcndcr the leasehold eslale and inl.crc.sts hercin conveved ur tcrminaie or cancei
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 the ground lease. Borrower shall not, withoul the express written consenl of' Lender, alter or amend ihe
ground lease. It'Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge
 unlcss Lender agrccs to the merger in writing.
          10. Mortgage Insurance. IfLender required Mongage [nsurancc as a condition ofmaking thc
Loan, Borrowcr shall pay the premiums rcquired to maintain tlie Mortgage Insurancc in effect. If, for any
reason, the Mortgage Insurance coverage required by Lender ceases 10 be availablc from the morlgage
 insurer that previously provided such insurance and Borrower was required £0 make separaiely dcsignaied
payments toward thc premiums for Mortgage Insurancc, Borrower shall pay thc premiums required to obtain
coverage substantially equivalent to the Mortgage Insurancc previously in effecl, at a cost substantially
equivalent to the cosi to Borrower ofthe Mortgage Insurance previously in effect, from an altcmate mortgage
 insurer selected by Lender. Jf substantially equivalent Mortgage Insurance coverage is not available,
Bonower shall continue to pay to Lender the amount ot' the separatcly designated paymenis that were due
when the insurance coverage ceased to be in effect. Lender will accept, use and retain tbese payments as a
non-refundable loss reserve in lieu of Mongage [nsurance. Such lossi reserve shall be non-refundable,
notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay
Bon'ower any interest or eamings on such loss reserve. I-ender can no longer require loss resei-vc payments if
Mortgage Insurance coverage (in the amount and for the period that Lender requires) provided by an insurer
selected by Lender again becomes available, is obtained, and Lender requires separately designaied paymenis
loward the premiums for Mortgage Insurance. IfLender required Mortgage Insurance as a condilion of
making the Loan and Borrower was required to make separately designated payments toward the premiums
for Mortgage Insurance, Borrower shail pay the prcmiums requit-cd to maintain Mortgage Insurance in effect,
or to provide a non-refundablc loss reservc, until Lcnder's requirement for Mortgage Insurance ends in
accordance wlth any writtcn agrcemcnt betwcen Borrower and Lendcrproviding for such termination or until
termination is required by Applicable Law. Nothing in this Section 10 affccts Borrower's obligalion lo pay
mtercst at the rate provided in the Note.
          Mortgage Insurance reimburses Lender (or any entity Ihat purchases the Note) tbr certain losses it
may iiicur if Borrower does not repay the Loan as agreed. BoiTOwer is not a party to the Mortgage Insurance.
          Mortgage insurcrs evaluate theirtotal risk on al! such insurance in tbrce trom time to time, and may
enler into agreements with other parties that share or modify their nsk. or reduce tosses. These agreemcnts
are on terms and conditions that are satisfactory to the mortgage insurer and the olher pany (or parties) to
 thcse agreements. These agreements niay require the mortgage insurer to make paymcnts using any source of
 funds that the mortgage insurer may have avaiiable (which may include funds obtained from Mongage
Tnsurancc premiums)-
          As a resull ofthese agreements, Lender, any purehaser ofthc Nole, anolher insurer, any reinsurer,
any other entity, or any affiliate ofany of'lhe foregoing, may receive (direclly or indirectly) amounts thal
derive from (or might bc characterized as) a portion of'Borrower's paymcnts fur Mongage Insurance, in
exchange foi sharing or modi(ying thc mortgagc insurer's risk, or reducing losses. It'such agreement provitles
that an affiliate ofLender takes a share ofthe insurer's risk in exchailge for a share ofthe premiums paid to
the insurer, [he arrangemeiit is often termed "captive reinsurance." Further:
          (a) Any such agreements will not affect the amounts that Borrower has agreed to pay tbr
Mortgage Insurance, or any other tenns of'thc Loan. Such agreements will not increase the amount
Borrower will owe I'or Mortgage Insurance, and they will not entitle Borrower to any refund.
          (b) Any such agreements will not af'fect the rights Borrower has - ifany - with respect to the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may
include the right to receive certain disclosures, to request and obtain cancellation of the Mortgagc
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Insurance, to have the Mortgage Insurance terminaled automatically, and/or to receive a ret'und ot'any
Mortgage Insurance premiums that were unearned at the time ofsuch cancellation or termination.
         II. Assignment oTMiscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hercby
assigned to and shall be paid to Lender.
           Ifthe Property is damaged, such Miscellaneous Proceeds shall be applied [o restoration or repair of
 the Property, ifthc rcstoration or repair is economicaliy feasible and Lender's security is nol lessened. During
 such repair and restoration period, Lender shall havc the right to hold such Miscellaneous Proceeds until
 Lender has had an opportunity to inspecl such Property to cnsure the work has been completed to Lender s
 salisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the repairs and
 restoration in a single disbursement or in a scrics ofprogress payments as the work is completed. Unlcss an
 agrcement is made in writing or Applicable Law requires inierest to be paid on such Miscellaneous Procceds,
 Lender shal) not be required to pay Bon'ower any inierest or earnings on such Miscellaneous Proceeds.Ifthe
 restoration or repair is not economically feasible or Lender's security would be lessened, the Miscellaneous
 Proceeds shall be applied to the sums secured by this Security Insirument, whether or not then due, with the
 excess, ifany, paid to Borrower. Such Miscellaneous Proceeds shall be applied in the order provided for in
 Section 2
           In the event of a total taking, destruction, or loss in valuc of the Property, the Miscellaneous
 Procccds shall be applied to the sums sccurcd by this SccuriEy Instrument, whcther or not then due, with the
 excess, ifany, paid to Borrower.
           In the eveni ofa partial taking, destruction, or loss in value ofthe Property in which ihc fair markct
 valuc ofthe Property immediately before the partial laking, destruction, or loss in value is equal to or greater
 than thc amount of the sums secured by this Security Instrument immediatcly before the panial taking,
destruction, or loss in value, unless Borrower and Lcnder othei-wise agree in writing, the sums secured by this
 Security Instrument shall be reduced by the amount of llie Miscellaneous Procccds multiplied by the
following fraction: (a) the total amount of the sums secured immediately beforc the partial taking.
destruction, or loss in value divided by (b) the fair market value of the Property immediately before the
 partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
           In the event ofa partial taking, destruction, or loss in value ofthe Property in which the t'air market
value ofthe Property immediaiely before the partial taking. destruction. or loss in value is less than the
amount of the sums securcd immediately before tlie partial taking, desiruction, or loss in value. unless
Borrowcr and Lender otherwise agree in writing. the Miscellaneous Proceeds shall be applied to the sums
secured by this Security Instrumeni whether or nol the sums are then due.
           If the Property is abandoned by Borrowcr, ur if, after noiice by Lcnder to Borrower Ihat the
Opposing Party (as defined in thc next scntence) offers to make an award to settle a claim for damages,
Borrower fails to respond to Lender within 30 days after the date the notice is given, Lendcr is authorizcd to
coliect and apply thc Miscellaneous Proceeds either to restoration or rcpair ofthe Pa-operty or to thc sums
secured by this Sccurity Instrument, whether or noi then duc. "Opposing Party" means the third party ihat
owes Bon'ower Miscellaneous Proceeds or the party against whom BoiTOwer has a right ofaction iii regard 10
Miscellaneous Proceeds.
           Borrower shall be in default ifany aciion or proceeding, ivhether civil orcriminal, is begun that. in
Lender'sjudgment, could result in forteiture of'the Property or olher materia] impairment ofLender's interesi
in the Property or rights underthis Security Instrumenl. Borrowercan cure such adefaultand, ifacceleration
has occurred, reinstate as providcd in Section i9, by causing Ihe aciion or proceeding to be dismissed wilh a
ruling thst, in Lender's Judgmcnt, precludcs forfciture ofthe Property or other material inipairmenl nf

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 Lender's interest in the Property or rights under ihis Security Instniment. The proceeds ofany award or claini
 for damages that are attributable to the impairment ofLender's inlerest in the Property are hereby assigned
 and shall be paid to Lender.
           All Miscellaneous Procceds that are not applied to resLoration or repair of the Property shall be
 applied in the ordcr provided for in Scction 2.
           12. Borrower Not Released; Furbearance By Lender Not a Waiver Exiension oflhe lime for
payment or modification ofanionization of the sums secured by this Security Inslrumenl grantcd by Lender
 (o Borrower or any Successor in Interesl ofBorrower shall not operate lo release thc liability ofBorrowcr or
any Successors in Interest ofBon-ower. Lendcr shall not bc required to commence procccdings against any
Successor in Inieresi ofBoiTQwer or to refuse to extend time for paymenl or otherwise modify amortization
of the sums secured by this Securiiy Insti-umcnt by reason ofany deniand made by the original Borrower or
any Successors in Interest of Borrower. Aiiy forbearance by Lender in exercisiiig any right or remedy
 including, without limitation, Lender's acceptance ofpaymeilts from third persons, entities or Successors in
 Interest of Borrower or in amounts less than the amount then due. shall nol be a waiver of'or preclude the
exercise ofany right or remedy.
           13. Joint and Several Liability; Co-signers^ Succcssnrs and A&signs Eound. Bori'owc}' covcnants
and agrces Eliat Borrower's obligations and liability shaf! bt jomt arsd several. How<;vcr. any Borrowcr wtu)
co-signs this Security Instniment but does not execute ihe NOC£ (A "co-stgncr"); (a) is co-signitig th\^ Sec.uhty
Instrument only to morlgage, grant and convey the co-iiigner*^ interest in thc PropetEV undi:r' thc; tcnns ut'this
Security Inslrumcnt; (b) is not personally obligated to pay tlie sums securiid by ihiii Scs.-urity Instranlcnt, anii
(c) agrces that Lender and any other Borrower c.1n agree lo exieiid, modi;V, forbear or inafce any
accommodations with regard to ihe tenns of this Securily '[nsrrument or the Note wid-iBul (hc. co-signcr's
consent.
          Subject lo ihe provisions of Section 18. any Succcssor ;n Interest of' Borrow,;r w'ao assumes
Borrower's obligations under this Securit>' Instrument in wrjtiisg. and is approveu by Lender, shaii obtain ail
of Borrower's rights and benefits under this Securiiy Instrument. Borrower shal! not be s'eleased ti'oin
Borrower's obligations and liability under this Securiiy iRsirunient unless Leiider agrees 10 iuEh release in
writing. The covenants and agreements ofthis Security Instrurn&nt shai! bind (excepr as providcd in Sectiori
20) and benefit the successors and assigns ofLender
          14. Loan Charges. Lender may charge Bon'owcr fccs for services performed in conncction with
Borrower's default, for the purpose of protecting Lender's inEerest in the Property and rights under ihis
Sccurity Insirumenl, including, but not limited to, atlorneys' fees, pruperty inspection and valuation fees. In
regard to any othcr fees, the absencc ofexprcss authority in Ihis Sccurity Instnimcnt to charge a spccific fce
lo Borrower shall not be construed as a prohibition on the charging ofsuch fce. Lcnder may not charge fecs
that are cxpressly prohibited by this Security Instrument or by Applicable Law.
          Ifthe Loan is subject to a law which sets maximum loan charges, and that law is finally inturpreted
so thai die interest or othcr loaii charges collected or to be coilected in conneciion with the Loan excecd Ihe
permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the
charge 10 Lhe permilted limit, and (b) any sums already collected fiom Borrower which exceeded pennitted
limits will be refunded to Borrower. Lender may choose to make this refund by reducing the principal owed
under the Note or by making a direcl payment to Bon'ower. Ifa refund reduces principal, Ihe reduciion will
be treated as a partial prcpaymenl without any prepayment charge (whcther or not a prepaymcnt charge is
provided tbr under thc Note). Borrower's acceptance ofany such refund made by direct paymeni. to Borrowo'
will consikuie a waiver ofany right ofaction Borrower might have arising out ofsuch overcharge.


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           IS. Notices. All notices given by Borrower or Lender in connection with Ihis Seoiriiy Instrumenl
 musi be in writing. Any notice to Borrower in conneciion vvith this Security Insli-umenl shall be deemed to
 havc bcen gjven to Bon'ower when mailed by first class mail or when actually delivered to Borrower's notice
 address ifsenl by other means. Notice to any one Borrower shall consiitute notice to all Bonowers unlcss
 Applicable Law expressly requires otherwise. The notice address shall be the Property Address unless
 Borrower has designated a substitute nolice address by notice to Lcnder. Borrowcr shall promplly notify
 LenderofBorrower's change ofaddress. IfLender specifies a procedure for reporting Borrower's ehange of
 address, then Borrowcr shall only report a changc ofaddress through that specified proceduic. There may bc
 only one designated notice address under this Security Instrument at any one timc. Any notice to Lender shall
 be given by dclivcring it or by mailing it by first class mail 10 Lender's addrcss staled herein unless Lendei
 has designated another address by notice to Bon-ower. Any notice in connection with this Security Instrumcnl
 shall not be deemed to have been given to Lender un(il acNally received by Lender. [t'any noticc required by
 this Security Insti-ument is also required under Applicable Law, the Applicable Law requircment wil] satisfy
 the coiresponding requirement under this Security Iiutrument,
           16. Governing Law; Severability; Rulcs of' Construction. This Secunty Insirument shall be
governed by federal law and the law ofthe jurisdiction in which the Property is localcd. Al] rights and
obligalions contained in this Secunty Inslrument are subjeci lo any requirements and iimitations of
 Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agrec by contraci or 11
might be silent, but such silence shall not be construed as a prohibition against agreemenl by contract. In (hc
event thatany provision or clause ofthis Security Insirumenl orthuNoie contlicts wilh Applicablc Law, such
conflict shall not affect other provisions of this Security Insirument or ihe Noie which can be given effect
wilhout the confiicting provision.
          As used in this Security Insirument: (a) words of thc mascuiine gcnder shall mcan and include
corresponding neuter words or words ofthe feminine gender; (b) words in the singular shall mean and
include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to lakc
any aclion.
           17. Borrower's Copy. Borrower shall be given one copy of the Note and ot'this Secunly
Instrument.
           18. Transter of the Property or a Bentficial Interest in Borrower. As used in this Section 18,
"Interest in the Property" means
                                    any legal or benetlcial interest in the Propcrty, including, but nol limited to.
those beneficial intercsts transfcrred in a bond for deed, contract for dced, installment saies contract or
escrow agreement, the intent ofwhich is the transfer oFtitle by Borrower ai a futurc date to a purchaser,
          Ifall or any part oflhe Property or any Inicrcsl in Ihe Propcrty is sold 01 Iransterrcd (or ifBon-owci
is not a natural person and a beneflcial intcrcst in Borrower is sold or tran^fen'ed) without Lcnders pnor
wrilten consent, Lendcr may require immediate payment in t'ull of all sums secured by this Secunty
Instrument. Howevcr, this option shall not bc exercised by Lcndcr if such cxcrcise is prohibited by
Applicable Law.
          IfLender exercises this option, Lender shall give Bon'ower iiotice ofacceteranon. The notice shaEi
provide a period ofnot less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument. If Borrowcr f'ails to pay these
sums prior to the expiraiion of this period, Lender may invoke any remedies permitted by this Security
Instrument without further noiice or demand on Borrower
          19. Borrower's Right to Reinstate After Acceleration. If Borrowcr meets ccriain conditions,
Borrowershall have ihe righl lo havc cnforcement oflhis Security Inslrumenl disconlinued at any lime prior

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 to the earliest of: (a) five days before sale ofthc Property pursuant lo any power ofsale contained in this
 Security Instrument; (b) such other period as Applicable Law inight specit'y for the terminaiion ot'Borrower's
 right to reinstate; or (c) entry ofajudgment enforcing this Security Instrument. Thosc conditions are that
 Borrower: (a) pays Lender all sums which then would be due undcr Ihis Security Instrument and ihc Note as
 ifno acceleration had occurrcd; (b) curcs any defauit ofany other covcnants or agrcements; (c) pays all
 expenses incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys'
 fecs, propcrty inspection and valuation fees, and othcr tccs incurred for thc purpose ofprotecting Lcnder's
 interest in the Propeny and rights under Ihis Sccurity Instrument; and (d) takes such aclion as Lender may
 reasonably require to assure that Lender's intercst in the Propeny and righls under this Security Instrument,
and Borrower's obligation to pay the sums secured by [his Security Instrumenl, shall continue unchangcd.
Lendcr may require that Borrower pay such reinsratement sums and cxpenses in one or more ofthc following
 forms, as sclected by Lcndcr: (a) cash; (b) moncy order; (c) certified check, bank check, treasurer's check or
 cashier's check, provided any such check is drawn upon an instirution whose deposits are insured by a t'ederal
agency, instmmeniality or entiiy. or (d) Electronic Funds Transfer. Upon reinsiatement by Borrower, this
Security tnstrument and obligations secured hereby shall remain fully effective a.s tf no acceleration had
occurrcd. However, this right to reinstate shai! not apply in the case of acceteration under Scction 18.
           20. Sale of Note; Change of Loan Servicer; Notice of Grievance. Thc Note or a partial interest in
ll>e Note (together wilh this Security Instrument) ciin be sold one or morc [inies withotit prior notice 10
Borrower. A sale might resuit in a cbanye in the entity (known as the "Loan Servjcer") that coilects Periodic
Paymenls duc unticr the Noic and ihis Sccunty Inslrumcnl and performs olher mortgage loan servicing
obligations under tbe Notc, thi$ Secufily In^truincnt, and Appiicable Law. There also might be one or more
cbanges ot' the Loan Servicer unrelated to a sale of ihe Nole. If there is a change of the Loan Serviccr,
Borrower will be givcn written norice ofEhe changc which will state the namc and address ofthe ncw Loan
Servicer, ihe addrcss to which payments should be made and any other informaiion RESPA requires in
connection with a notice oflransfer ofserviong. Jfthe Note is sold and thereaftcr thc Loan is serviced by a
Loan Servicer olher than the purehaser of the Nole, the mortgage loan scrvicing obligations 10 Borrower will
remain with the Loan Servicer or be transfen'ed to a succsssor Loan Servicer and are noi assumed by the
Note purchaser unless otherwise provided by the Notc purchaser.
           Neither Borrower nor Lender may commcnce, join, oi' bcjoined 10 anyjudicial aclion (as either an
individual litigant or ihe member ofa class) Lhat arises from the other party's aulions pursuant to this Securiiy
Instrument or that alleges that thc other party lias breached any provision of, or any duiy owed by reason of,
this Security Instrument, unlil such Bonrower or Lender has noiined the othcr parly (wiih such nolice given
in compliancewiih the rcquiremcnls ol'Scclion 15) ofsuch allegctl breach and affurded the otherparty hereio
a reasonable period after ihe giving ofsuch nolicc lo take correclive action. irApplicablc Law provides a
time period which must elapse before certain acilon can be laken, that time period will be dcemcd to be
reasonable for purposes of this paragraph. The nolice of accclcraiion and opportunity to cure given 10
Borrower pursuant to Section 22 and the notice ofacceteration given ro Bon'ower pursuant TO Section 18
shalt bc deemed to satisty the notice and opportunity to take correciivc aclion provisions of this Section 20.
           21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are (hose
substances defined as toxic or hazardous substances, pollutants, 01 wasies by Environmental Law and ihe
tbllowing substances: gasoline. kerosene, other flammable or toxic petroleum products, toxic pesticides and
herbicides, volatile sotvents, materials containing asbcstos or formaldehyde, and radioactive maierials; (b)
"Environmental Law" means federal
                                         iaws and laws of the jurisdiction wherc the Property is loeated that
relate to health, safety or environmenial proleclinn. (c) "Environmental CIeanup" includcs any rcsponse
action, remedial action, or rcmoval aciion, as clcfined in Environmentai 1.aw; and (cl) an "Environmental

MONTANA - Singlc Family - Fannie Mat/Freddif Mac UNIFORM INSTRI.!MI?^T
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Condilion" means a condilion that can cause, contribute 10, or otherwise trigger an Environmenial Cleanup.
         Borrower shall not cause or permil the presencc, use, disposal, Storage, or release ofany Hazardous
Substances, or threaten to release any Hazardous Subslances, on or in the Property. Borrower shall not do,
nor allow anyone else to do, anything at'f'ecting the Properly (a) that is in violation ofany Environmental
Law, (b) which creates an Environmenial Condition, or (c) which, due to the presence, use, or release ofa
Hazardous Substance, creates a condition that adversely affects the value ofthe Property. The preceding two
scnlcnccs sliall not apply to the prcsence, usc, or storagc on Ihc Propcrty ofsmall quanlilies of'Hazardous
Subslances Ihal are generally recognized to be appropriate to normal residential uses and to maintenance of
the Property (inciuding, but not limited to, hazardous substances in consumer products).
         Bon'ower shall promptly givc Lender written notice of(a) any investigaiion, claim, dcmand, lawsuit
or other action by any govemmental or regulatory agency or private party involving the Property and any
Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any
Environmenlal Condilion, including but not limited to, any spilling, leaking, discharge, release or threat of
release of any Hazardous Substance, and (c) any condition caused by the presence, use or release ofa
Hazaidous Substance which adversely affects the value of the Properiy. If Borrower learns, or is notified by
any governmental or regulatory auihority, or any private party. that any removal or Olher rcmediation ofany
Hazardous Substance affecling the Propcrty is necessary, Borrower shall promptly take all necessary
remedial actions in accordance wirh Environmcntal Law. Nothmg herein shail crcate any obiigation on
Lender for an Environmental Cieanup.

         NON-UNIFORM COVENANTS. Borrower and Lender funher covcnanl and agree as follows:
          22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration
following Borrower's breach ofany cnvenant or agreement in this Security Instrument (but not prior
tu acceleration under Section 18 unless Applicable Law provides otherwise). The notice shall specify:
(a) the default; (b) the action required to cure the default; (c) a date, not less than 30 days from the
date the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure
the default on or before the date specified in the notice may result in acceleration ofthe sums secured
by this Security Instrument and sale ufthe Property. The notice shall further inform Borrower of the
right tu reinstate after acceleration and the right lo bring a court action to assert the non-existencc ofa
det'ault or any other defense of Borrower to acceleration and salc. Il' tbe default is not cured on or
bet'ore the date specified in the notice, Lendcr at its option may require immediate payment in t'ull ot'
all sums secured by this Security Instrument without fnrther demand and may invoke the power of
sale and any other remedies permitted by Applicable Law. Lender shall be entitled to collect all
expenses incurred in pursuing the remedies provided in this Section 22, including, but not limited to,
reasonable attorneys' t'ees and costs of title evidence.
         If Lender invokes the power of sate, Lender shall give written notice to Trustee of the
occurrence ofan event ofdefault and ofLender's election to cause the Property to be sold. Lender or
Trustee shall record a notice ofsale in each county in which any part ofthe Property is located, and
Trustee sh2ll mail copies ofthe notice as prescribed by Applicable Law to Borrower and to the other
persons prescribed by Applicablc Law. After the time required by Applicable Law and after
publication and posting of the notice of sale, Trustee, withoul demand on Borrower, shall sell the
Property at public auction to the highest bidder at the time and ptacc and undcr the tcrms designatcd
in the noticc ofsale in one or more parccls and in any order Trustee determines. Trustec may postpone
salc of all or any parcel ot' the Property by public announcement at the time and place of any
previously schcduled sale. Lender or its designec may purchase the Property at any sale.

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          Trustee shall deliver to the purchaser Trustee's deed conveying the Property without any
covenant or warranty, expressed or implied. The recitals in the Trustee's deed shail be prima facie
evidence ofthe truth ofthe statements made therein. Trustee shall apply the proceeds ofthe sale in the
following order: (a) to all expenses of the sale, induding, but not limited to, reasonable Trustee's and
attorneys' fees; (b) to all sums secured by this Securit}' Instrument; and (c) any excess to the person or
persons legally entitled to it or tn the clerk or recorder ofthe county in which the sale took place.
          23. Reconveyance. Upon payment ofall sums secured by this Security Instrument, Lender shall
request Trustee to reconvey the Property and shall sun-enderthis Securily Instrument and all notes evidencing
dcbt secured by this Security insirument to Trustee. Trustee shall reconvcy the Property without wan-anty to
the person or persons legally entitled to it. Such person or persons shall pay any recordation costs. Lender
may charge such person or persons a fee for reconveying the Propeny, but only ifthe fee is paid to a third
party (such as the Trusiee) for scrvices rendered and the charging ofthe fee is pemiittcd under Applicablc
Law.
          24. Substitute Trustee. Lender, at its option, may trom lime to time remove Trustee and appoint a
successor trustee to any Trustee appointed hereunder. Without conveyance of the Property, (he successor
trustee shall succeed to all the title, power and duties conferred upon Trustee herein and by Applicable Law.
          25. Area of Property. The area ofthe Property is not more than 40 acres.
          26. Waiver ofHomestead Exemption Rights. In conformance with ihe provisions of § 70-32-202,
M.C.A., this transaction involving a mortgage upon real property for purposes of securing a debt on
premises, as subject hereto, and executed and acknowledged by the husband and wife, or by an unmarricd
person, the undersigned grantors have by separate written waiver, which waiver is incorporared hcrein by this
reference, waived, renounced and abandoned for themselves and their family, any and all horoestcad
exempdon rights or othcr excmption law now or subsequcntly enforced within the State of Montana, or any
othcr state or territory where judgmcnt may be entered by virtue of this agicemcnt or in the event of a sale
pursuant to the provisions ofthe Montana SmaII Tract Financing Act.
         BY S1GN1NG BELOW, Bon'ower accepts and agrees to ihe tenns and covenants contained in this
Security Instrument and in any Rider executed by Borrower and recorded with it.

     /^
                            ^           l^-^'fl
- BOKROWER - CANDY WILLIAMS - DATE -




MONTANA - Sinelc Fami[y - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
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                                [Space Below This Line For Acknowkdement)

Statc of L'THM-

County of-.lAKE . £>Ht-C t-l^>=<?

        This record was acknowledged before me on Oe^&rYlSeC ^.le, 3^13- by CMDY WILLIAMS.

(OfRcial Stamp^

                                                       Notary Public
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                   COMMISSIONN0.70n»
                   COMM.EXP. 10/09/2022                                     ^SK 'W W. 702725
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Individual Loan Originator: ROIAND GERHAKD FBEY, NMLSR ID: NMLS # 305739
LoanOriginatorOrganization:GIACIER MORTGAGE, INC., NMLSR 1D: NMLS # 2568

Loan Originator Organization (Creditor): UNITED WHOUBSALE MORTGAGE, NMLSR ID: IBtLS # 3038




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